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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION


    BRIANNE DRESSEN, et al.,

                                    Plaintiffs,

                   v.                                     CASE NO. 3:23-CV-155

    ROB FLAHERTY, et al.,

                                     Defendants.


                                      AFFIDAVIT OF SERVICE

          I, Thomas Curro, am a paralegal at New Civil Liberties Alliance, which represents

Plaintiffs in the above captioned action. Pursuant to Federal Rules of Civil Procedure

4(i)(3) and 4(l), I certify that U.S. Attorney for the Southern District of Texas, the U.S.

Attorney General, and all Defendants who are new parties to the case and/or are now being

sued in their individual capacities under Plaintiffs’ First Amended Complaint (Rob

Flaherty, Andrew Slavitt, Xavier Becerra, Vivek Murthy, Carol Crawford, Alejandro

Mayorkas, Jen Easterly, The Board of Trustees of the Leland Stanford Junior University,

The Leland Stanford Junior University, Alex Stamos, and Renee DiResta), have been

served copies of the First Amended Complaint (ECF No. 42) and the Issued Summons 1

dated October 16, 2024. Any new Defendants in this action were also served a copy of the

Galveston Division Rules of Practice.



1
    The service of summons to Renee DiResta was waived. See ¶ 10.


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       Service of these individuals and entities took place in the time, place, and manner

described below:2

       1.      On October 16, 2024, I sent by certified mail, return receipt requested, a copy

of the First Amended Complaint and the Issued Summons addressed to the U.S. Attorney

for the Southern District of Texas, the U.S. Attorney General, and to each of the above-

mentioned Defendants, to the U.S. Attorney for the Southern District of Texas, Alamdar

Hamdani, at 1000 Louisiana Street, Ste. 2300, Houston, TX 77002, and the Attorney

General of the United States, Merrick Garland, at 950 Pennsylvania Avenue NW,

Washington, DC 20530.

       2.      According to the return receipts, the U.S. Attorney General received service

on October 18, 2024, and the U.S. Attorney for the Southern District of Texas received

service on October 21, 2024. Proof of service is attached as Exhibit A.

       3.      A process server personally served Andrew Slavitt on October 23, 2024, in

Pasadena, CA, with a copy of the First Amended Complaint and Issued Summons

addressed to him. Defendant Slavitt’s authorized counsel accepted service by email on Mr.

Slavitt’s behalf of a copy of the Galveston Division Rules of Practice on November 1,

2024. Proof of service is attached as Exhibit B.

       4.      A process server served Vivek Murthy with the First Amended Complaint

and Issued Summons addressed to him on October 17, 2024, in Washington, DC, via




2
 Any home addresses have been redacted from the exhibits attached hereto, pursuant to General Order
No. 2004-11.


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personal service to Defendant Murthy’s security guard who was authorized to accept

service of process on Mr. Murthy’s behalf. Proof of service is attached as Exhibit C.

       5.     After several failed attempts to personally serve Defendants Xavier Becerra

and Alejandro Mayorkas by a process server in Washington, DC, they were both served

with the First Amended Complaint and Issued Summons addressed to them on November

7, 2024, via email to Mr. Mayorkas’ and Mr. Becerra’s counsel and designated agents who

were authorized to accept service on each of their behalves. Proof of service, including of

the prior failed attempts, are attached as Exhibit D.

       6.     The Morgan County, Georgia Sheriff’s Office personally served Carol

Crawford with the First Amended Complaint and Issued Summons addressed to her on

October 31, 2024, in Madison, GA. Proof of service is attached as Exhibit E.

       7.     After two failed attempts to personally serve Defendant Jen Easterly by a

process server, Ms. Easterly was served with the First Amended Complaint and Issued

Summons addressed to her on October 21, 2024, in Arlington, VA via personal service to

her authorized counsel. Proof of service is attached as Exhibit F.

       8.     A process server served the Board of Trustees of the Leland Stanford Junior

University and the Leland Stanford Junior University with the First Amended Complaint

and Issued Summons addressed to them on October 17, 2024, in Stanford, CA. Proof of

service is attached as Exhibit G.

       9.     A process server personally served Alex Stamos with the First Amended

Complaint and Issued Summons addressed to him on October 17, 2024, in Redwood City,

CA. Proof of service is attached as Exhibit H.


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       10.    On October 18, 2024, pursuant to Federal Rule of Civil Procedure 4(d), I sent

the First Amended Complaint, two Waiver of the Service of Summons forms, and a prepaid

return envelope by certified mail, return receipt requested, to Defendant Renee DiResta’s

authorized counsel, at 601 Massachusetts Avenue NW, Washington, DC 20001-3743. On

November 4, 2024, Defendant DiResta’s counsel signed the waiver form. The signed

waiver form and proof of delivery of the form to Ms. DiResta’s counsel are attached as

Exhibit I.

       11.    On October 16, 2024, I made arrangements with a process server to

personally serve Defendant Rob Flaherty. After four unsuccessful attempts at serving Mr.

Flaherty at his last-known residential address in Washington, DC, see ECF No. 49-2,

Plaintiffs moved for alternative methods of service, ECF No. 49, which this Court granted.

ECF No. 50 (authorizing, inter alia, service via first class mail to Defendant Flaherty’s last-

known residential address). On November 26, 2024, I sent a copy of the First Amended

Complaint and Issued Summons addressed to him via first class mail to Mr. Flaherty’s last-

known home address in Washington, DC, 20001. The United States Postal Service’s

tracking dashboard confirmed that the process was delivered on November 27, 2024. Proof

of service is attached as Exhibit J.

       I solemnly swear under penalty of perjury that the foregoing is true and correct to

the best of my knowledge, information, and belief.

       Executed: Arlington, VA                                           /s/ Thomas Curro
       December 12, 2024




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                            CERTIFICATE OF SERVICE

       I certify that on December 12, 2024, I electronically filed the foregoing document

with the United States District Clerk for the Southern District of Texas and electronically

served all counsel of record via the District Court’s ECF system.

       /s/ Casey Norman




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